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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  10/20/2020
DINO ANTOLINI,                                            :
                                                          :
                                        Plaintiff,        :
                                                          :               19-cv-7645 (VSB)
                      -against-                           :
                                                          :                    ORDER
RAMON NIEVES, et al.,                                     :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Defendants’ letter filing in the above-captioned case on October 16,

2020. (Doc. 63.) Defendants represent that they tried to contact Plaintiff on multiple occasions

for purposes of submitting a joint letter, but did not receive a response. Accordingly, it is

hereby:

        ORDERED that Plaintiff submit a letter to the Court by no later than Friday, October 23

that describes his positions on the issues Defendants raised, as well as any issues, if any, that are

outstanding.

SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
